Case 1:04-cv-OlO40-.]DT-STA Document 52 Filed 07/18/05 Page 1 of 2 Page|D 62

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IN THE UNITED STATES DISTRICT COURT ' "ED UY"W` DC
FoR THE WESTERN DISTRICT oF TENNESSEE '
EASTERN DIVISIoN

ROY LEE WADE,

 

Plaintiff,
vs. No. 04-1040 T/An

MARK DAVIDSON, et al.,

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Defendants.

 

ORDER SETTING HEARING

 

Before the Court is the Order Granting Default Judgment and Referring Case for Report
and Recommendation on Damages entered by United States District Judge J ames D. Todd on
June 15, 2005 . lt is ORDERED that a hearing Shall be held before United States Magistrate
Judge S. Thomas Anderson on TUESDAY, AUGUST 2, 2005 at 10:30 A.M. in the Magistrate
Judge Courtroom, 4th F]oor, United States Courthouse, 111 S. Highland Avenue, Jackson,
Tennessee. The purpose of the hearing shall be to determine the appropriate amount of damages
that should be awarded to Plaintiff as requested in the Memorandum of Facts and LaW filed With

the Court on July 6, 2005.

IT IS SO ORDERED. ,
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Honorable .l ames Todd
US DISTRICT COURT

